885 F.2d 867Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Russell B. VINNEDGE, Petitioner-Appellant,v.Clarence L. JACKSON, Attorney General of Virginia,Respondents-Appellees.
    No. 89-6628.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1989.Decided Aug. 31, 1989.
    
      Russell B. Vinnedge, appellant pro se.
      Robert Harkness Herring, Jr., Office of the Attorney General of Virginia, for appellees.
      Before DONALD RUSSELL, WIDENER, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Russell B. Vinnedge seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Vinnedge v. Jackson, C/A No. 88-597-R (E.D.Va. Mar. 1, 1989;  Apr. 17, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    